Edward G. Byford
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33600 Echo Lake Rd                                                 SEP 30 2011
Soldotna, Alaska 99669
Telephone: (907) 252-6625                                 CLERK, U.S. tJj·STmCT COURT
                                                               ANCHOPAGE A K
                     IN THE UNITED STATES DISTRICT COURT                       '   . •
                          FOR THE DISTRICT OF ALASKA


 Edward G. Byford Jr,


                  Plaintiff,
vs.

Charles Michael Chenault ,                        COMPLAINT UNDER
Sharalyn Sue Wright,                              THE CIVIL RIGHTS ACT
Carl Edward Kock,                                 42 U.S.C. § 1983
Peter Ashman,
John Papasodora,                                 (NON - PRISONERS)
Daniel Cheyette,                           Expedited Consideration Requested
Talis Colberg,                             Request Jury Trial
Dayvin Williams,
Peter J. Mlynarik,
Scott Briggs,
Jerane Grieme,
Terence Shanigan,


                  Defendant(s) .

A. Jurisdiction

Jurisdiction is invoked under 28 U. S. C. § 1343 (a) (3) and 42 U. S. c.   §
1983. If you assert jurisdiction under any different or additional
authorities, list them below:




B. Parties

1. Plaintiff: This complaint alleges that the civil rights of Edward G.
Byford, who presently resides at 33600 Echo Lake Rd, Soldotna, Alaska
99669.  Were violated by the actions of the below named individual(s).




PS 02   (4/06)

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2. Defendants          (Make a copy of this page and provide same information if you are naming more
than 3 defendants) :

Defendant No. 1,Charles Michael Chenault, is a citizen of
Alaska, and is employed as a Representative of the State Legislature.


X This defendant personally participated in causing my injury, and I want
money damages.

  OR

The policy or custom of this official's government agency violates my
rights, and I seek injunctive relief (to stop or require someone do
something) .

Defendant No. 2,Sharalyn Sue Wright, is a citizen of
Alaska, and is employed as a Legislative Aide to Charles Michael
Chenault.

 X This defendant personally participated in causing my injury, and I
want money damages.

  OR
The policy or custom of this official's government agency violates my
rights, and I seek injunctive relief (to stop or require someone do
something) .

Defendant No. 3,Carl Edward Kock , is a citizen of
Alaska, and is employed as a Guard Courthouse Security.

 x This defendant personally participated in causing my injury, and I
want money damages.

  OR
The policy or custom of this official's government agency violates my
rights, and I seek injunctive relief (to stop or require someone do
something) .


Defendant No. 4,Peter Ashman, is a citizen of
Alaska, and is employed as a Trial Judge for State of Alaska.


   This defendant personally participated in causing my injury, and I want
money damages.

 X OR

The policy or custom of this official's government agency violates my
rights, and I seek injunctive relief (to stop or require someone do
something) .




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Defendant No. 5,John Papasodora , is a citizen of
Alaska, and is employed as a Police Chief of Nome,   former Head of the
Alaska Bureau of Investigation.

 X This defendant personally participated in causing my injury, and I
want money damages.

  OR
The policy or custom of this official's government agency violates my
rights, and I seek injunctive relief (to stop or require someone do
something) .

Defendant No. 6,Daniel Cheyette , is a citizen of
Alaska, and is employed as Attorney Office of Special Prosecution
Assistant Attorney General.

__ This defendant personally participated in causing my injury, and I
want money damages.

X OR
The policy or custom of this official's government agency violates my
rights, and I seek injunctive relief (to stop or require someone do
something) .


Defendant No. 7,Talis Colberg, is a citizen of
Alaska, and is employed as former Attorney General State of Alaska.


   This defendant personally participated in causing my injury, and I want
money damages.

 X OR

The policy or custom of this official's government agency violates my
rights, and I seek injunctive relief (to stop or require someone do
something) .

Defendant No. 8,Dayvin Williams , is a citizen of
Alaska, and is employed as an Assistant Attorney General

 __ This defendant personally participated in causing my injury, and I
want money damages.

 X OR
The policy or custom of this official's government agency violates my
rights, and I seek injunctive relief (to stop or require someone do
something) .




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Defendant No. 9,Peter J. Mlynarik , is a citizen of
Alaska, and is employed as Head Detachment E Alaska State Troopers.

 x This defendant personally participated in causing my injury, and I
want money damages.

  OR
The policy or custom of this official's government agency violates my
rights, and I seek injunctive relief (to stop or require someone do
something) .

Defendant No. 10, Scott Briggs, is a citizen of
Alaska, and is employed as a Alaska State Trooper.


X This defendant personally participated in causing my injury, and I want
money damages.

  OR

The policy or custom of this official's government agency violates my
rights, and I seek injunctive relief (to stop or require someone do
something) .

Defendant No. 11,Jerane Grieme, is a citizen of
Alaska, and is employed as a Alaska State Trooper.

 x This defendant personally participated in causing my injury, and I
want money damages.

  OR
The policy or custom of this official's government agency violates my
rights, and I seek injunctive relief (to stop or require someone do
something) .

Defendant No. 12,Terence Shanigan , is a citizen of
Alaska, and is employed as a Alaska State Trooper.

 X This defendant personally participated in causing my injury, and I
want money damages.

  OR
The policy or custom of this official's government agency violates my
rights, and I seek injunctive relief (to stop or require someone do
something) .



C. Causes of Action

Claim 1: The following civil right has been violated:
(e.g., due process, freedom of religion, free speech, freedom
of association and/or assembly, freedom from cruel and unusual
punishment, etc. List only one civil right violation.)

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Claim 1:    The following civil right has been violated:
Freedom of Speech

Supporting Facts: Charles Michael Chenault and Sharalyn Sue Wright in an
attempt to silence myself Edward G. Byford for Whistle Blowing on their
criminal activities, they have violated my civil rights in the following
ways.

On 6-26-06 Sharalyn Sue Wright filed a false police report with Trooper
Terrence Shanigan to keep Edward Byford off his leased commercial property
in Sterling Alaska when Edward Byford tried reporting Charles Michael
Chenault and Sharalyn Sue Wrights criminal activities to the troopers.

On 9-01-06 Edward Byford went to the Legislative building and made an
appointment with Senator Tom Wagoner to discuss the abuse of Charles Michael
Chenault and Sharalyn Sue Wright. Later that day I received a call from
Senator Tom Wagoner, he   informed me that Sharalyn Sue Wright noticed
Edward Byford in Senator Wagoner's office and immediately went to the court
house to place a stalking order against me to prevent me from entering the
building and talking to Senator Tom Wagoner. Later stalking order proven
false and dismissed.

On 7-15-07 Went to Attorney General's office and filed a statement about
Charles Michael Chenault and Sharalyn Sue Wright's activities. Sharalyn Sue
Wright started calling Edward Byford's clients from stolen files urging them
to stop their jobs and file complaints against Edward Byford and his
business alleging that he was a criminal. Katherine Stone from the AG's
office stated Sharalyn Sue Wright was calling Katherine Stone 20 to 30 times
a day demanding Katherine Stone to stop Edward Byford also alleging he was a
criminal.

On 3-10-08 Edward Byford filed a complaint with Srgt. Dan Donaldson with the
Alaska State Troopers about the abuse from Charles Michael Chennault and
Sharalyn Sue Wright. Sharalyn Sue Wright filed a stalking order against
Edward Byford and naming Srgt. Dan Donaldson as a co-conspirator in an
attempt to stop Edward Byford from filing any reports and having credibility
with the Department of Public Safety. Later stalking order was proven false
and dismissed.

On 4-02-08 in an attempt to silence Edward Byford, Sharalyn Sue Wright filed
a complaint with Col. Audie Holloway with the Alaska State Troopers making
false allegations. Sharalyn Sue Wright followed this up 2 days later with an
e-mail offering a Bribe to Col. Audie Holloway's dept if he would get Edward
Byford. In fact so as to be assured of the silencing she stated her boss
Rep. Charles Michael Chenault was aware of this Bribe and has agreed to
increase Col. Audie Holloway's budget for 2009. The fact is their Budget
increased 9.4 million dollars.




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On 7-03-10 Edward Byford sent a letter to Governor Sean Parnell outlining my
concerns with the corrupt activities of Rep. Charles Michael Chenault's
office. Immediately Sharalyn Sue Wright filed a stalking order against
Edward Byford, stating Sharalyn Sue Wright was asking the court to bar
Edward Byford from looking up her theft conviction and allegations from
other state agencies that she has stolen hundreds of thousands of dollars
from senior citizens along with property and gas & oil rights. Later
stalking order proved false and dismissed.

On 7-14-10 Edward Byford went to the Kenai Recording Office to get copies of
Gas & oil Leases that Sharalyn Sue Wright obtained from Deceased Waldo E
Coyle. These leases were transferred out of Sharalyn Sue Wright's name into
an Alaska Trust and then sent to off shore accounts that Sharalyn Sue Wright
still controls and invests the money under Rep. Charles Michael Chenault.
Within minutes of leaving the recorder's office Sharalyn Sue Wright filed a
stalking order against Edward Byford. Later stalking order proven false and
dismissed.

On 9-16-10 Edward Byford gave a list of Crimes believed to have been
committed against him to the Public Defender's office Bill Taylor. Later
Bill Taylor called and said Sharalyn Sue Wright called and threatened his
office that if someone didn't do something about Edward Byford then Rep.
Charles Michelle Chennault's office would.   The Public Defender's Office
dropped representation upon this threat and conflicted out.  Referring me to
Office of Public Advocacy an agency directly influenced by Chenault and
Wright.




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Claim 2: The following civil right has been violated:

Unreasonable Search and Seizures

Supporting Facts: In an attempt to shift suspicion from Rep. Charles Michael
Chenault and Sharalyn Sue Wright of their criminal activities Sharalyn Sue
Wright at the request of Rep. Charles Michael Chenault Broke and Entered
Edward Byford's place of business on multiple occasions. Removing from his
place of business, financial records including job tracking on cash
receipts, computers systems, drawing of construction jobs and confidential
patentable drawings, All Client Contact and Contract Information.

During the stalking hearings Sharalyn Sue Wright testified Rep. Charles
Michael Chenault's office has been pursuing Edward Byford for years in
addition to the fact she has thousands of pages of business records that are
the property of Edward Byford.

On 4-06-08 In the E-mail offering a Bribe to Col. Audie Holloway,  Sharalyn
Sue Wright admits to having thousands of pages of financial records, client
contracts general book keeping records. Many records have been turned over
to the troopers and the rest is waiting pick up at the Kenai Legislative
Office. All records belong to Edward Byford.

On 5-15-08   ABI John Papasodora had a recorded interview with Sharalyn Sue
Wright, during this interview Sharalyn Sue Wright admitted to having
concerns to the illegal Search and Seizure. John Papasodora assures Sharalyn
Sue Wright that she wouldn't be in any trouble and accepts the evidence.
Sharalyn Sue Wright stated she had given the Dept. of Labor lots of
documentation on Edward Byford.

On 5-09-11 Sharalyn Sue Wright testified at a suppression hearing that she
had entered Edward Byford's building on 4 or 5 occasions and removed items
to her personal shed at home. ABI John Papasodora stated under oath that he
used evidence from the Dept. of Labor, the same illegally obtained and
seized evidence Sharalyn Sue Wright provided to the Dept. of Labor.

On 5-09-11 James I Moore testified at the suppression hearing that when
Sharalyn Sue Wright Illegally Searched and Seized Edward Byford's property
the items taken were 1 large filing cabinet, 1 computer system and large
drawings of a lodge to be built in Sterling Alaska. This took place in the
summer of 2005.




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Claim 3 : The following civil right has been violated:

Deprive any person of Property

Supporting Facts:  On several occasions Sharalyn Sue Wright at the direction
of Rep. Charles Michael Chenault did in fact remove Edward Byford's property
from a secured location and admittedly still has those items locked up in
her personal shed.

On 5-09-11 During the suppression hearing when Sharalyn Sue Wright was
finished testifying Judge Peter Ashman stated "THAT IS NOT A CREDIBLE
WITTNESS AND HE FINDS IT VERY DISTURBING THAT ABI JOHN PAPASODORA WOULD
ACCEPT THAT EVEIDENCE" Therefore ABI John Papasodora, Prosecutor Daniel
Cheyette and Office of Public Advocacy are still holding my property without
any legal cause.

If fact, Sharalyn Sue Wright has stated in court hearings, in emails, in
depositions and statements that she has thousands of pages of financial and
business records as well as cd's from Edward Byford.  In addition, some of
the discovery brought forward only existed on Edward Byford's stolen
computer.

On 12-19-05 Trooper Terrence Shanigan took a police report concerning a
Burglary at Edward Byford's business. When Trooper Shanigan took the report
he verbally notified the Kenai Police Department which in turn contacted
Edward Byford on 4 different occasions over 90 days, they were calling for
Edward Byford to identify other stolen items if they might be his. When
Trooper Shanigan found out that it involved Sharalyn Sue Wright and the
McDowell family he stated on his police report that the Burglary was
Unfounded and case closed. However, some of the stolen goods were
identified as mine but AST refused to recover them all. Trooper Shanigan
altered the facts of the burglary to say there was no crime committed.

On 7-15-06 Sharalyn Sue Wright with the clout of Rep. Charles Michael
Chenault's office entered a locked building of Edward Byford and with the
help of Aaron McDowell removed the following items, 2- 750,000 BTU space
heaters, 1 two horse trailer, 4 units 2x12x24 ft lumber and stacks of 8" D
shaped house logs total value is over $85,000.00. Trooper Dan Donaldson
responded and took information.  However, AST has since said no police
report was filed only call logged.

On 12-22-06 Received a call from Glen Martin in Sterling Alaska concerning
equipment Edward Byford had stored on his property. Glen Martin said someone
was loading up Edward Byford's log planer. Edward Byford and James I Moore
drove to Sterling from Soldotna upon arriving they noticed tracks in the
snow to a lot down the street. Edward Byford blocked the driveway where a
crew was trying to unload the stolen planer and called the Troopers. After
about 1 hour Trooper Grieme shows up and refuses to look at any Bills of
Sale or Legal documentation that I had to prove ownership. He stated he had
a meeting with Trooper Shanigan and Sharalyn Sue Wright and would not
provide Edward Byford or James I Moore with the names of who took the


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equipment or even provide a police report. During this exchange we were only
100 ft from my stolen equipment and perpetrators of the crime.  Trooper
Grieme stated if Edward Byford or James Moore didn't leave or came back he
would arrest both. The Value of the Equipment $300,000.00 plus the loss of
the use of it to finish my contractual obligations. AST refused to take
police report.

On 3-14-07 Edward Byford and James I Moore found 1 of the 750,000 BTU space
heater stolen earlier from Edward Byford. Edward Byford called ABI Scott
Briggs in Soldotna to report the location of his Stolen Heater, the value is
$4,500.00. ABI Scott Briggs stated that if Byford went on the property to
retrieve his property he would be arrested for Criminal Trespass. At a later
date Edward Byford went to the Trooper Station in Soldotna to retrieve his
horse trailer that was impounded and at this time ABI Scott Briggs stated in
front of witnesses he would not get any stolen items back for Edward Byford.

In late "09 n   Edward Byford made multiple calls to Capt. Pete Mylarnik

To report items not returned to Edward Byford, Capt. Mylarnik refused to
look in to the matter in fact he went as far as to say that of the 14 plus
crimes committed against Edward Byford he did not have to even file a police
report. The fact is he made sure those police reports were never filed just
logged.

On or about Summer/Fall 2006 Carl Edward Kock conspired with Sharalyn Sue
Wright of Rep. Charles Michael Chenault's office to target jobs of Edward
Byford claiming in his authority as a guard at the court house under cover
of color with Sharalyn Sue Wright went to jobs and with malicious intent
sought to stop projects and convince people to file complaints. By his
unfounded accusations of criminal conduct by Edward Byford he was able to
harass and intimidate to either stop projects or file complaints against
Edward Byford.  In this way deprived Edward Byford of income. He stated
this under oath, in police reports and court cases.  He was quite proud of
the work he had performed in destroying Edward Byford's business efforts.

On or about May 2011 at a court hearing Carl Edward Kock stated that he had
confidential financial documents of Edward Byford's, he received this
information from Sharalyn Sue Wright.    To this day my property has not
returned to me from Carl Edward Kock.




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Claim 4:   The following civil right has been violated:

Equal protection of the laws

Supporting Facts: Rep. Charles Michael Chenault took an oath of office to
uphold the U.S Constitution and the State of Alaska Constitution. Rep.
Charles Michael Chenault along with Sharalyn Sue Wright is working in their
official capacity and has used or promised benefits to Alaska State
Agencies, every person and agency named in this complaint has a direct
connection and involvement to Rep. Charles Michael Chenault and Sharalyn Sue
Wright. The E-mail on 4-06-08 offering a bribe to the Audie Holloway is a
clear indication that Legislative Chenault's office will go to any length
and influence anyone to get their desired result. Together they have
injected themselves in to the creation of a crime including evidence
collecting, the investigation and ultimately the unlawful prosecution of
Edward Byford. Rep. Charles Michael Chenault and Sharalyn Sue Wright worked
for years building the case they wanted with the evidence they had taken
from Edward Byford and presented it to ABI John Papasodora. By doing so they
insured that Edward Byford would not be or could not be equally protected
under the law.

ABI John Papasodora On or about 4-6-2008 accepted stolen items from Sharalyn
Sue Wright, and then he used those items and documents to plan a biased
investigation with the sole intent to convict Edward Byford as the E-mail
Bribe on 4-06-08 states. ABI John Papasodora knew of evidence that would
prove Edward Byford's innocence and suppressed it, for example the financial
records from Sharalyn Sue Wright several months before the first search
warrant was requested. Then when he received canceled checks from the search
warrants to the bank that would help prove no crime happened he destroyed
some 250 checks per warrant totaling 1000 checks. In Papasodora's police
report his dates on checking events and totals don't match the warrant
times. On the recordings made with witnesses ABI John Papasodora clearly met
with each witness several times. It was not until he could convince them to
come up with the story he wanted did he record the witnesses statement. ABI
John Papasodora worked with Sharalyn Sue Wright very closely during his
whole investigation, he made a statement in his official police report that
he was making a trip to Kenai Alaska specifically to bring Sharalyn Sue
Wright up to speed there is also reference to many E-mails back and forth
between Sharalyn Sue Wright and ABI John Papasodora. Given these Facts
Edward Byford feels it is impossible for ABI John Papasodora to claim that
Edward Byford could have expected equal protection under the law.

In Sharalyn Sue Wrights email she states that she has many more financial
records of Edward Byford's to be picked up from her Legislative office by
Troopers. Among the business records stolen from Edward Byford's office
were the cash receipts totaling tens of thousands of dollars.  In an attempt
to build a case against Edward Byford, ABI John Papasodora destroyed these
cash receipts along with other evidence.   What he built his case around was
white collar crime. The paperwork was the key to their complete case. He

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counted on the fact without these records that Edward Byford could not put
up a defense.   Just one of the cash receipts that was recovered but
discounted was over $75,000 for equipment.

ABI John Papasodora threatened a key witness to change their statement for
fear of prosecution or reprisal.

He encouraged Sharalyn Sue Wright to do illegal activities for collecting
evidence that he knew he could not get warrants for.  He prompted her during
her taped interview in what to say to protect her.

Asst. Attorney General Dayvin Williams During 8-2009 presented a case
against Edward Byford to the Grand Jury. It was Dayvin Williams's
responsibility to research the case that was given to her from ABI John
Papasodora and to verify that the case could be substantiated. Almost a year
after the grand jury Prosecutor Daniel Cheyette realizes that ABI John
Papasodora's police report has major flaws. And in fact more search warrants
were filed for to bridge the gap from using stolen records to initially
build this case.

Prosecutor Daniel Cheyette On 05/09/2011 has the responsibility to protect
the rights of the accused even if that means dismissing a case because
proper procedure wasn't followed. Daniel Cheyette had in evidence the E-mail
offering a bribe from Sharalyn Sue wright to Audie Holloway. During the
suppression hearing on 5-9-11 when Judge Peter Ashman stated that Sharalyn
Sue Wright was not a credible witness and he finds it very disturbing that
ABI John Papasodora would accept the evidence from Sharalyn Sue Wright. At
that moment Daniel Cheyette should have had serious concerns on starting
trial the next morning without looking in to exactly what Sharalyn Sue
Wright turned over to ABI Papasodora being the Bribery E-mail says Financial
Records and to what if any it affected his case against Edward Byford.
Without looking in to this matter he could not be assured that Edward Byford
would be afforded equal protection under the law.

Daniel Cheyette also knew that the case was based upon stolen records and
misinformation and also applied for additional search warrants in order to
cover this fact up.   Daniel Cheyette falsified records in order to cover up
the many illegal forms of investigation and information retrieval used to
build the case.

Attorney General Talis Colberg and Ast. Attorney General Dayvin Williams
worked for over a year with Edward Byford's attorney Heather Gardner in
drafting a Consent Judgment. Even after all of the constant harassment from
Rep. Charles Michael Chenault's office and Sharalyn Sue Wright and the
massive thefts and little to no help from the troopers Edward Byford still
believes his clients deserve to receive a refund of their monies. The
Consent Judgment allows Edward Byford to be free to run his business and
without interference from the state of Alaska and it lays out a 6 year time
limit to repay and also states this settles all issues with the State of
Alaska. Four months prior to signing this agreement the state started a
criminal investigation against Edward Byford. Edward Byford believes that

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Attorney General Talis Colberg Breached the Consent Agreement and acted in
Bad Faith and Breached the Covenant of Good Faith and Fair Dealing. Talis
colberg knew when Edward Byford signed the agreement that this in fact did
not settle all issues with the State of Alaska. Therefore he should have
known that Edward Byford was not afforded Equal Protection under the Law.

AST Capt. Peter Mlynarik During 10-1-2009 Was notified on 6 occasions by
phone, 2 times by subpoena and through multiple E-mails with Lori woitel and
Edward Byford requesting police reports of the crimes committed against
Edward Byford. He refused to do so. Audie Holloway stated in e-mail to Lori
woitel that Capt. Mylarnik has to provide police reports. Refusal from capt.
Mlynarik to provide police reports and to properly supervise the Troopers
under his command states volumes to whom the laws protect and or not
protect.

ABI Scott Briggs On 6-15-2008 was aware of thefts against Edward Byford and
failed to retrieve Edward Byford's stolen property after Edward Byford
located the items, Edward Byford has witnesses that ABI Scott Briggs refused
to retrieve any of Edward Byford's property or provide him with a police
report. This is a common concept for law enforcement at least confiscate the
property, it been nearly 5 years later and it is still sitting on a trailer
in a contractor's yard. Edward Byford has had to rent the equipment to
replace what Scott Briggs has deprived him of.

AST Jerane Grieme on 12-22-06 AST Grieme facilitated the theft of a Log
Planner from Edward Byford. AST Grieme communicated with Sharalyn Sue Wright
hours before the theft occurred. When Edward Byford was notified of the
theft occurring he called 911. Dispatch told Edward Byford not to go to
Sterling where the theft was happening in fact dispatch called 3 times in 15
min to tell him that the trooper told him to stay away from the property.
Edward Byford located the stolen planner and blocked the driveway. About an
hour later Trooper Grieme pulls up and asks if I was Edward Byford I said
yes and I handed him all my paper work to prove ownership including Federal
Bankruptcy Documents with photos. Grieme stated I don't need to see your
paper work and said you are to get in your truck and leave. I told Grieme I
wanted the names of the people and their commercial insurance numbers.
Grieme refused and said if you don't leave now I will arrest you and tow
your truck also if you come on this property I will arrest you for criminal
trespass. To this day there is no police report nor have I been given the
information of the perpetrators, I have called for a used machine in good
condition is $300,000.00

AST Terrance Shanigan Summer of 2006 took a report of a burglary at Edward
Byford's business, months later when he found out that Sharalyn Sue Wright
was involved he filed his report as unfounded. Question is if it was
unfounded why he would tell Kenai Police to call Edward Byford to verify
stolen confiscated tools.

Sharalyn Sue Wright made a false police report to the troopers on 6-26-06
that Edward Byford had broken in to a building in Sterling and stole a
heater when it was proven she was lying. Trooper Shanigan refused to charge

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her. Three witnesses and Edward Byford saw her break and enter the building
from across the street and Terrence Shanigan refused to take a police
report.   Instead he charged Edward Byford with a disorderly conduct it was
however later dismissed. On 5-17-06 Trooper Shanigan called Edward Byford on
his cell phone and stated he had talked to Sharalyn Sue Wright and she had
legal paper work to keep Edward Byford off of his leased property in
Sterling and if he or any of his employees were caught on the property they
would be arrested for criminal trespass. Edward Byford contacted Srgt. Dan
Donaldson from AST and he asked if I could stay away till he could get this
sorted out, it took 3 days to prove she was not telling the truth but by
then the damage had been done the building broken into again, more thefts
and vandalism. On 5-19-06 Edward Byford reported to Trooper Blizzard of a
break in.




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Claim 5   The following civil right has been violated:

Deprive any person of Liberty

Supporting Facts:  5-1-2005 - 10-28-2011 Rep. Charles Michael Chenault by
using the power of the Legislative Branch of government to relentlessly
pursue and intimidate Edward Byford and his business. By offering Bribes and
favors to enforce Sharalyn Wright's claims no matter how inconceivable which
in turn allows Sharalyn Sue Wright to perjure herself in court time and time
again and to insure it will go unpunished. Rep. Charles Michael Chenault
manipulates the Executive Branch of government to produce false evidence and
unwarranted charges.  Charles Michael Chenault is one of the most powerful
men in Alaska Legislature. He is known to control the finances of the state
as well as sits on committees that among others control the judicial system.

Sharalyn Sue Wright 2005 - Current has filed many stalking orders against
Edward Byford all of which have been proven to be false, 2 judges stated she
lied. Sharalyn Sue Wright has lied to 2 others to have them file stalking
orders against Edward Byford and both of them have been dismissed. Sharalyn
Sue Wright has given so many statements to the police and testified in court
cases she can't keep up with the truth any more, she testified she was in
Kenai when the Arson fire burnt down Edward Byford's place of business and
she received a call from the owner at 10:00 pm, then she called Chenault and
drove 30 miles to Sterling. Problem is witnesses place Sharalyn Sue Wrights
pick up 200 ft from the Arson parked in the bushes. The fire Dept. placed a
6" hose beside her truck blocking it in 3 min after 911 call of smoke
showing. This alone should raise suspicion of her actions but as always the
next day she's doing damage control standing in the ashes talking to the
State Fire Marshall pointing the finger to Edward Byford. Sharalyn Sue
Wright's house burnt down in 06 it is still a open Arson Investigation, she
made claim in court that Edward Byford had something to do with it, at the
time she had $180,000.00 IRS lien. Edward Byford was in good standing for 12
years at Central Emergency Services as a Fire Fighter-EMT, Sharalyn Sue
Wright started calling the borough Mayor Williams and making all sorts of
false claims that Edward Byford was running an illegal theft ring of stolen
equipment and storing it on Borough property. Edward Byford finally resigned
from the Fire Dept. Sharalyn Sue Wright's daughter works for the Dept. of
Labor, she used this connection to pursued Alvin Nagle to file unlawful
criminal charges against Edward Byford, Later it was dismissed. She had
several meetings with the Peninsula Clarion in Chenault's office to plan an
attack against Edward Byford's business in a series of article Sharalyn Sue
Wright stole documents from Edward Byford, then she employed the help of
carl Edward Kock to contact all of the jobs that Edward Byford had going and
sent them complaint forms for the Attorney General's Office.   Sharalyn Sue
Wright worked very closely with the troopers in Soldotna to keep all the
material and tools and equipment that were stolen from being located or
retrieved. Edward Byford left the state of Alaska to seek employment in
January "09", when she found out Edward Byford was in pahrump Nevada
Sharalyn Sue Wright called every business in town talking all kinds of
terrible things. She called the landlord of some commercial property that


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Edward Byford rents stating that Rep. Charles Michael Chenault was doing a
criminal investigation on Byford she referred the landlord to the Clarion
News paper to read the articles that Sharalyn Sue Wright crafted. Sharalyn
Sue Wright testified in court that she and Chenault have been after Edward
Byford for over ten years. Sharalyn Sue Wright started with the Dept of
Labor filing complaints then when she didn't get the result she was looking
for she moved on to the Ast Attorney General filing more complaints then
when that didn't work she filed the formal complaint with the Troopers
followed with a written Bribe 4 days later. Edward Byford believes that this
type of targeting does not promote the feeling of safety or well-being.

During this time period many people have stated that everyone is afraid of
Sharalyn Sue Wright and that her activities are well known by other agencies
including the FBI.

ABI John Papasodora 04-15-2008 purposely infecting the investigation of
Edward Byford, falsifying evidence, and witness tampering and manipulating
every situation to do exactly what Chenault's office wanted which is to
convict Edward Byford at any cost and to do irreparable harm by using
Sharalyn Sue Wright to do his dirty work.

Dayvin Williams 08-23-2009 knew at the Grand Jury things were wrong with the
case against Edward Byford but she pressed on anyway. She knew in her
questioning of ABI Papasodora about the screen capture and Seth Crosby that
Papasodora was not honest it was her responsibility to bring honesty to the
court proceeding.

Prosecutor Daniel Cheyette 04-15-2008 knew from the start that this case was
built off of illegally obtained documents, and terrible investigation work.
He had several chances throughout this trial to do the right thing and
protect Edward Byford's rights and he did not, the comments during the
suppression hearing from the judge was enough to place doubt to the
credibility of the charges.

ABI Director Audie Holloway 04-02-2008 wheels tremendous power and for him
to accept a Bribe for his Dept puts serious doubt if anyone could get a fair
trial or treated justly, it places doubt if the favors don't trickle down to
the troopers involved with Edward Byford. There has to be an explanation why
someone of authority has not stopped this cycle.

Attorney General Talis Colberg 04-02-2008 signed both the Consent Judgment
and the Criminal case. It seems that he did not care if the consent Judgment
would even be honored. I wrote him and the Governor a letter addressing my
concerns. Talis Colberg is ultimately responsible for the people under him
and with what all that has happened to Edward Byford during their
prosecution.




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Judge Peter Ashman I do not feel that Judge Peter Ashman made mistakes
during this trial.  I feel they were intentional. All the evidence of this
trial points to complete disregard of Edward Byford's constitutional rights.
It is not just one action it was over and over.   I believe that Peter Ashman
is influenced by Sharalyn Sue Wright, Charles Michael Chenault (who holds
the purse strings to the court system). Judge Ashman knew that Edward
Byford was protected against unlawful search and seizures. When provided a
multitude of proof and testimony during the suppression hearing that an
illegal search and seizure had occurred he offered the Sharalyn Sue Wright
the opportunity to claim the 5 th • She declined. He also confirmed he was
aware of the illegal search and seizure by addressing ABI John Papasodora
and stating that Sharalyn Sue Wright was not a creditable witness and he
found it very disturbing that ABI John Papasodora would accept that
evidence.  By making that statement it was clear what his thinking was that
a crime did in fact happen and that the troopers were in possession of
stolen documents but because it had to do with a legislative office he would
not suppress.   Judge Ashman allowed Edward Byford's constitutional rights
to be violated, state law to be violated and pushed to start the trial the
next morning without due process.

Judge Ashman also failed to provide Edward Byford adequate opportunity to
testify on his own behalf. He made a statement on the record that he had
failed to follow procedure in regards to the accused being given the right
to testify.

Carl Edward Kock By his ongoing harassment and criminal activity and his
repeated calls to Sharalyn Sue Wright every time I came to the courthouse.
As many as 65 times in 19 days from his position at the wanding station. By
going to jobs harassing the owners to stop jobs and file stalking orders
against Edward Byford. He was occasionally accompanied by Sharalyn Wright
during these harassments. He used his position as a Guard to talk to anyone
that would listen at the courthouse to further infect guests to the
courthouse, visiting attorneys and staff. Multiple members of the Public
Defender's office fished on his property.




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Claim 6       The following civil right has been violated.

Due Process

Supporting Facts: Rep. Charles Michael Chenault and Sharalyn Sue Wright used
their office for their personal gain.  They use the office to promise
favors, increase or decreases in budget items, jobs, promotions and uses the
office as a tool of intimidation and vendetta.

It was clear in at least one of the emails that a bribe was offered to the
Department of Public Safety to silence Edward Byford.  It is also logical
that similar emails could have been offered to other departments.

On 06-26-2006 at Edward Byford's place of business when Edward Byford
witnessed Sharalyn Wright with a male associate kick in the front door of
the business (Edward Byford was across highway at gas station)and entered
the building.  During this event Sharalyn Wright stated "Do you know who I
am?""I am Sharalyn Wright with Mike Chenault's office""When I am done with
you, you will be selling drugs on a street corner to survive." She has done
everything in her power to try and do just that. This was recorded and
provided as evidence to Srgt. Dan Donaldson.  There were three other
witnesses to this event.

It is clear that Rep. Charles Michael Chenault and Sharalyn Sue Wright have
influenced everything in this situation from the creation of a series of
fabricated crimes, the ceaseless pursuit of destroying Edward Byford's
business, destroying personal life, targeting work at fire department,
pursuit out of state to destroy any and all attempts to reimburse debtors
from the destruction of the business with the final result being a criminal
prosecution of an innocent man.  Sentencing is scheduled for October 28,
2011.

In addition,  I find it very concerning that Judge Peter Ashman would hear
of evidence of financial records that Sharalyn Wright stole from Edward
Byford's building and turned over to state agencies including but not
limited to Alaska State Troopers,   Office of Public Advocacy, Department of
Law and Department of Labor.   In fact, when the Public Defender's office
conflicted out the Office of Public Advocacy appointed counsel and then
denied use of professional witnesses included but not limited the use of a
Certified Public Accountant.    The office of Public Advocacy has a
department called Elder Fraud that was created, passed and funded by Rep.
Charles Michael Chenault in 2006 with the intention of pursuing Edward
Byford all in an attempt to silence him.




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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with
the same facts involved in this action?   X Yes    No


2. If your answer is "Yes," describe each lawsuit. (If there is more than
one lawsuit, describe the additional lawsuits by copying this blank page
and labeling it page "6A.")

a. Parties to previous lawsuit:

Plaintiff(s)   State of Alaska

Defendant(s)   Edward G. Byford


b. Name and location of court: State of Alaska Kenai District Court


c. Docket number: 3KN-09-1800


d. Name of judge to whom case was assigned: Judge Peter Ashman


e. Disposition: Waiting for Sentencing


f. Issues Raised: 3 Felony Counts, Scheme to Defraud, Deceptive Business
Practices and Theft in First Degree. Because of the thefts of my
equipment, materials and business records I was unable to totally
complete all work that was in progress. With the sabotage from Chenault,
Wright and Kock of clients they cancelled additional jobs. However,
there were jobs completed during this time period and previous to it.
They fabricated a series of events, falsified documents, coerced
witnesses, tampered with witnesses and even burned my business to the
ground. Chenault's influence within the Departments of the State of
Alaska is absolute.  He controls their budgets.

g. Approximate date case was filed: August 2009


h. Approximate date of final decision: July 2011




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F. Request for Relief
Plaintiff requests that this Court grant the following relief:

1. Damages in the amount of $11,500,000.00

2. Punitive damages in the amount of $3,000,000.00

3. An order requiring defendant(s) to Stay Criminal Case Waiting Decision
by Federal Court.  Prohibit defendants from any further action to Edward
Byford until this federal case is heard so that no more irreparable harm
can come to him.

4. A declaration that




5. Other:




Plaintiff demands a trial by   ~Jury         Court.   (Choose one.)

                    DECLARATI~~ER      PENALTY OF PERJURY

     The undersigned declares under penalty of perjury that s/he is the
plaintiff in the above action, that s/he has read the above civil rights
complaint and that the information contained in the complaint is true and
correct.




Edward G. Byford
Plaintiff's Full Name

Executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _on                 _
                      (Location)                         (Date)



Original Signature of Attorney               (Date)


Attorney's Address and Telephone Number




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